           Case 17-06237-5-SWH                    Doc 1 Filed 12/26/17 Entered 12/26/17 10:29:41                                  Page 1 of 52

Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Amidon, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  7617 Kensington Manor Lane
                                  Wake Forest, NC 27587
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Wake                                                            Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  209 W. Industry Drive Oxford, NC 27565
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://AmidonInc.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
           Case 17-06237-5-SWH                         Doc 1 Filed 12/26/17 Entered 12/26/17 10:29:41                                       Page 2 of 52
Debtor    Amidon, Inc.                                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,                                                                                                                 7% Owner, VP
     attach a separate list                       Debtor     Clayton Amidon                                                  Relationship            of Operations
                                                             Eastern District of
                                                  District   North Carolina                When      11/20/17                Case number, if known   17-05682-5



Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   Amidon, Inc.                                                                              Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
           Case 17-06237-5-SWH                    Doc 1 Filed 12/26/17 Entered 12/26/17 10:29:41                                     Page 4 of 52
Debtor    Amidon, Inc.                                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 26, 2017
                                                  MM / DD / YYYY


                             X   /s/ Angela Amidon                                                        Angela Amidon
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President and CEO




18. Signature of attorney    X   /s/ William P. Janvier                                                    Date December 26, 2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 William P. Janvier 21136
                                 Printed name

                                 Janvier Law Firm, PLLC
                                 Firm name

                                 311 East Edenton Street
                                 Raleigh, NC 27601
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     919-582-2323                  Email address


                                 21136
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         Amidon, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          December 26, 2017                       X /s/ Angela Amidon
                                                                       Signature of individual signing on behalf of debtor

                                                                       Angela Amidon
                                                                       Printed name

                                                                       President and CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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             Case 17-06237-5-SWH                             Doc 1 Filed 12/26/17 Entered 12/26/17 10:29:41                                            Page 6 of 52


 Fill in this information to identify the case:
 Debtor name Amidon, Inc.
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NORTH                                                                                    Check if this is an
                                                CAROLINA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Ahtna Support &                                                                                                                                                          $52,186.87
 Training Svcs LLC
 Attn: Managing
 Agent
 110 W 38th Ave, #2
 Anchorage, AK
 99503
 BB&T                                                            Debt owed.                                                                                               $34,696.83
 Attn: Managing
 Agent
 P.O. Box 580340
 Charlotte, NC 28258
 BB&T Financial FSB                                                                                                                                                       $12,500.00
 Attn: Managing
 Agent
 P.O. Box 580340
 Charlotte, NC
 28258-0340
 Breaching                                                                                                                                                                $12,250.00
 Technologies, Inc
 Attn: Managing
 Agent
 PO Box 780156
 San Antonio, TX
 78278
 Carolina Facilities                                                                                                                                                        $3,834.08
 Group, LLC
 Attn: Managing
 Agent
 5036 Kinderston
 Drive
 Holly Springs, NC
 27540




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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             Case 17-06237-5-SWH                             Doc 1 Filed 12/26/17 Entered 12/26/17 10:29:41                                            Page 7 of 52


 Debtor    Amidon, Inc.                                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Construction                                                                                                                                                               $3,501.02
 Financial Admin Svc
 Attn: Managing
 Agent
 4956 Long Beach Rd
 Southport, NC
 28461-9127
 Deltek                                                          Subscription to                                                                                            $4,275.00
 Attn: Managing                                                  access
 Agent                                                           government
 2291 Wood Oak                                                   contracting
 Drive                                                           opportunities.
 Herndon, VA 20170
 Evolve Furniture                                                                                                                                                           $5,828.54
 Group
 Attn: Managing
 Agent
 PO Box 562
 Marlton, NJ 08053
 Flooring Solutions,                                                                                                                                                      $10,700.00
 Inc
 Attn: Managing
 Agent
 6426-B Windmill
 Way
 Wilmington, NC
 28405
 Greystone Concrete                                                                                                                                                       $34,289.08
 Products, Inc
 Attn: Managing
 Agent
 PO Box 680
 Henderson, NC
 27536
 Hamilton Machine                                                                                                                                                         $20,139.74
 Works
 Attn: Managing
 Agent
 908 Withers Road
 Raleigh, NC 27603
 Harrison Walker &                                               Subcontracted                                                                                        $1,009,162.22
 Harper LP                                                       services.
 Attn: Managing
 Agent
 2510 South Church
 Street
 Paris, TX 75460
 Keith Clarin                                                                                                                                                             $59,517.79
 Attn: Managing
 Agent
 8113 Satillo Lane
 Raleigh, NC 27616


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Amidon, Inc.                                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Landstar Ranger,                                                                                                                                                         $19,100.00
 Inc
 Attn: Managing
 Agent
 PO Box 8500-54293
 Philadelphia, PA
 19178-4293
 Mahorsky Group,                                                                                                                                                            $3,702.00
 Inc
 Attn: Managing
 Agent
 2100 Quaker Pointe
 Dr
 Quakertown, PA
 18951
 Mann's Creative                                                                                                                                                          $11,550.00
 Design LLC
 Attn: Managing
 Agent
 7604 Clark Hill Rd
 Wilmington, NC
 28412
 One Source                                                                                                                                                                 $6,932.13
 Furniture Dist Inc
 Attn: Managing
 Agent
 2654 Abington Rd
 Akron, OH 44333
 Richard Koch                                                    Interest in the                                                                                        $300,000.00
 Attn: Managing                                                  accounts
 Agent                                                           receivable from
 279 Cross Road                                                  Amidon, Inc.'s
 Alamo, CA 94507                                                 Camp Pendleton
                                                                 Project
 Sherman & Boddie,                                                                                                                                                          $7,150.00
 Inc
 Attn: Managing
 Agent
 730 Lewis Street
 Oxford, NC 27565
 Sunbelt Rentals                                                                                                                                                          $22,442.55
 Attn: Managing
 Agent
 PO Box 409211
 Atlanta, GA
 30384-9211




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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         Case 17-06237-5-SWH                                        Doc 1 Filed 12/26/17 Entered 12/26/17 10:29:41                                                                     Page 9 of 52
 Fill in this information to identify the case:

 Debtor name            Amidon, Inc.

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,163,357.94

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,163,357.94


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           778,582.80


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,658,480.97


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           2,437,063.77




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name          Amidon, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     KS Bank                                                Checking                         6160                                    $49,523.42




            3.2.



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                     $49,523.42
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
         Yes Fill in the information below.

 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit
                     $4,600 security deposit with landlord. Debtor anticipates that landlord will keep deposit
            7.1.     since Debtor ended the lease early.                                                                                                      $0.00



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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 Debtor         Amidon, Inc.                                                                          Case number (If known)
                Name


 9.        Total of Part 2.                                                                                                                          $0.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                            899,112.59       -                                   0.00 = ....                 $899,112.59
                                              face amount                               doubtful or uncollectible accounts

                                              *Note: Receivables Subject to Assignment/Ownership Claim of Bonding Companies


           11b. Over 90 days old:                                    21,025.40   -                                  0.00 =....                    $21,025.40
                                              face amount                               doubtful or uncollectible accounts

                                              *Note: Receivables Subject to Assignment/Ownership Claim of Bonding Companies

 12.       Total of Part 3.                                                                                                                  $920,137.99
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                               Valuation method used    Current value of
                                                                                                               for current value        debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                     Ownership interest in 360 Degrees Ballistics,
           15.1.     LLC                                                                  51             %                                          Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                          $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last               Net book value of         Valuation method used    Current value of
                                                      physical inventory             debtor's interest         for current value        debtor's interest
                                                                                     (Where available)

 19.       Raw materials

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 2
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 Debtor         Amidon, Inc.                                                           Case number (If known)
                Name

           Ballistic blocks and
           repair kit orders.
           Manufactured and
           shipped quickly; no
           inventory kept.                                                           $0.00                                            Unknown



 20.       Work in progress
           Ballistic blocks being
           manufactured.                                                             $0.00                                            Unknown



 21.       Finished goods, including goods held for resale
           Ballistic blocks awaiting
           shipment.                                                                 $0.00                                            Unknown



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                            $0.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                            Valuation method                         Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                         Net book value of         Valuation method used    Current value of
                                                                       debtor's interest         for current value        debtor's interest
                                                                       (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
          Printers, Laptop computers, GPS, Furniture,                $11,115.34    Liquidation                                      $11,115.34
          Desktop computers, Monitors, Servers, and
          Telephone System.
          Lien: (SC)1 Fora Financial Business Loans,
          LLC, 242 W. 36th St., 14th Floor, NY,NY 10018;
          Amount: $332,790.58 (Debtor believes
Official Form 206A/B                         Schedule A/B Assets - Real and Personal Property                                              page 3
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 Debtor         Amidon, Inc.                                                                  Case number (If known)
                Name

           avoidable).
           Lien: (SC)2 Preservation 2, Inc., Rich Kristof,
           1020 Timber Lane, Wilmette, IL 60091; Amount
           $408,263.31



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                            $11,115.34
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2014 Ford F250, approximately 105,000
                     miles
                     Lien: (SC) 1: Ford Credit, P.O. Box
                     650575, Dallas, TX 75265; Amount
                     $19,990.31                                                        Unknown       Liquidation                        $17,593.27


           47.2.     2016 Ford Explorer, approximately
                     69,374 miles.
                     Lien: (SC) 1: Ford Credit, P.O. Box
                     650575, Dallas, TX, 75265; Amount
                     $17,538.60                                                        Unknown       Liquidation                        $19,506.89


           47.3.



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 4
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 Debtor         Amidon, Inc.                                                                  Case number (If known)
                Name

            Steel forms, SACON Pull Test Gauge, Concrete
            Power Trowels (2), Armalite AR-10 Rifle,
            Supressor/Adapter/Barrel Thread Colt, AV
            Forms. Lien: (SC)2 Preservation 2, Inc., Rich
            Kristof, 1020 Timber Lane, Wilmette, IL 60091;
            Amount $408,263.31                                                         Unknown       Liquidation                        $17,000.00




 51.        Total of Part 8.                                                                                                        $54,100.16
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
                Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            360ballistics.com
            amidoncontracting.com
            amidoninc.com                                                              Unknown                                            Unknown



 62.        Licenses, franchises, and royalties
            Debtor is a non-exclusive licensee with the
            U.S. Army Corps of Engineers for SACON(r),
            which stands for shock-absorbing concrete.
            Debtor pays $2,000.00 annually for the license
            and royalties on non-federal sales, of which it
            has none.                                                                  Unknown                                            Unknown



 63.        Customer lists, mailing lists, or other compilations
            Debtor maintains lists of cusotmers and their
            mailing addresses.                                                         Unknown                                            Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 5
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 Debtor         Amidon, Inc.                                                                  Case number (If known)
                Name

            Accumulated goodwill with customers.                                          Unknown                                              Unknown



 66.        Total of Part 10.                                                                                                                     $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                No
                Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                   Current value of
                                                                                                                                   debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
            Debt owed to Amidon, Inc. by                                    149,723.27 -                           149,723.27 =
            Amidon International, LLC. Amidon                         Total face amount     doubtful or uncollectible amount
            International is owned 100% by
            Clayton Amidon, who has filed
            personal bankruptcy, making this a
            doubtful account.                                                                                                                        $0.00


                                                                               6,874.76 -                             6,874.76 =
            Debt owed by David Mitchell.                              Total face amount     doubtful or uncollectible amount                         $0.00



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities
            $2.0 million Keyman insurance policy on Angela
            Amidon.                                                                                                                                  $0.00



 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 6
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 Debtor         Amidon, Inc.                                                                 Case number (If known)
                Name


 78.       Total of Part 11.                                                                                                        $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




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 Debtor          Amidon, Inc.                                                                                        Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $74,523.42

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $920,137.99

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $11,115.34

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $157,581.19

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,163,357.94            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,163,357.94




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 8
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Rev. 3/2016
                                                                  UNITED STATES BANKRUPTCY COURT
                                                                 EASTERN DISTRICT OF NORTH CAROLINA

 IN THE MATTER OF:                                                                                                     CASE NUMBER:
 Amidon, Inc.
             Debtor(s).


                                                           SCHEDULE C-1 - PROPERTY CLAIMED AS EXEMPT

         I,  Angela Amidon         , claim the following property as exempt pursuant to 11 U.S.C. § 522 and the laws of the State of North Carolina,
and nonbankruptcy Federal law: (Attach additional sheets if necessary).

           1. NCGS 1C-1601(a)(1) (NC Const., Article X, Section 2) REAL OR PERSONAL PROPERTY USED AS A RESIDENCE OR BURIAL PLOT
(The exemption is not to exceed $35,000; however, an unmarried debtor who is 65 years of age or older is entitled to retain an aggregate interest in the
property not to exceed $60,000 in value so long as the property was previously owned by the debtor as a tenant by the entireties or as a joint tenant with
rights of survivorship and the former co-owner of the property is deceased, in which case the debtor must specify his/her age and the name of the former
co-owner, if a child use initials only, of the property below).

                                               Owner
                                               (D1)Debtor 1                                   Amount of
 Description of Property                Market (D2)Debtor 2 Mortgage Holder                   Mortgage                 Net       Value Claimed as Exempt
 and Address                             Value (J)Joint     or Lien Holder                      or Lien              Value Pursuant to NCGS 1C-1601(a)(1)
 -NONE-

 Debtor's Age:
 Name of former co-owner:

                                               VALUE OF REAL ESTATE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(1): $                                  0.00

            2. NCGS 1C-1601(a)(3) MOTOR VEHICLE (The exemption in one vehicle is not to exceed $3,500).

                                               Owner
                                               (D1)Debtor 1
 Model, Year                            Market (D2)Debtor 2                                   Amount of                Net       Value Claimed as Exempt
 Style of Auto                           Value (J)Joint     Lien Holder                           Lien               Value Pursuant to NCGS 1C-1601(a)(3)
 -NONE-

                                           VALUE OF MOTOR VEHICLE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(3): $                                    0.00

         3. NCGS 1C-1601(a)(4) (NC Const., Article X, Section 1) PERSONAL OR HOUSEHOLD GOODS (The debtor's aggregate interest is not to
exceed $5,000 plus $1,000 for each dependent of the debtor, not to exceed $4,000 total for dependents). The number of dependents for exemption
purposes is 0 .

                                                        Owner
                                                        (D1)Debtor 1                                                                    Claimed as Exempt
 Description                                     Market (D2)Debtor 2      Lien                            Amount                  Net    Pursuant to NCGS
 of Property                                      Value (J)Joint          Holder                           of Lien              Value        1C-1601(a)(4)
 -NONE-

                                                                     VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(4): $                           0.00

            4. NCGS 1C-1601(a)(5) TOOLS OF TRADE (The debtor's aggregate interest is not to exceed $2,000 in value).

                                               Owner
                                               (D1)Debtor 1
                                        Market (D2)Debtor 2 Lien                              Amount of                Net       Value Claimed as Exempt
 Description                             Value (J)Joint     Holder                                Lien               Value Pursuant to NCGS 1C-1601(a)(5)
 -NONE-

                                                                     VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(5): $                           0.00

            5. NCGS 1C-1601(a)(6) LIFE INSURANCE (NC Const., Article X, Section 5).

                                                                                                                                                        Cash
 Description\Insured\Last Four Digits of Policy Number\Beneficiary(if child, initials only)                                                             Value
 -NONE-



Schedule C-1 - Property Claimed as Exempt - 3/2016
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            6. NCGS 1C-1601(a)(7) PROFESSIONALLY PRESCRIBED HEALTH AIDS (For Debtor or Debtor's Dependents, no limit on value).

 Description
 -NONE-

        7. NCGS 1C-1601(a)(8) COMPENSATION FOR PERSONAL INJURY, INCLUDING COMPENSATION FROM PRIVATE DISABILITY
POLICIES OR ANNUITIES, OR COMPENSATION FOR DEATH OF A PERSON UPON WHOM THE DEBTOR WAS DEPENDENT FOR SUPPORT.
COMPENSATION NOT EXEMPT FROM RELATED LEGAL, HEALTH OR FUNERAL EXPENSE.

 Description AND Source of Compensation, Including Name (If child, initials only) & Last Four Digits of Account Number of any Disability Policy/Annuity
 -NONE-

         8. NCGS 1C-1601(a)(2) ANY PROPERTY (Debtor's aggregate interest in any property is not to exceed $5,000 in value of any unused
exemption amount to which the debtor is entitled under NCGS 1C-1601(a)(1)).

                                               Owner
                                               (D1)Debtor 1
 Description of Property                Market (D2)Debtor 2 Lien                             Amount                Net       Value Claimed as Exempt
 and Address                             Value (J)Joint     Holder                            of Lien            Value Pursuant to NCGS 1C-1601(a)(2)
 -NONE-

                                                                     VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(2): $                          0.00

          9. NCGS 1C-1601(a)(9) and 11 U.S.C. § 522 INDIVIDUAL RETIREMENT PLANS & RETIREMENT FUNDS, as defined in the Internal
Revenue Code, and any plan treated in the same manner as an individual retirement plan, including individual retirement accounts and Roth retirement
accounts as described in §§ 408(a) and 408A of the Internal Revenue Code, individual retirement annuities as described in § 408(b) of the Internal
Revenue Code, accounts established as part of a trust described in § 408(c) of the Internal Revenue Code, and funds in an account exempt from
taxation under § 401, 403, 408, 408A, 414, 457, or 510(a) of the Internal Revenue Code. For purposes of this subdivision, "Internal Revenue Code"
means Code as defined in G.S. 105-228.90.

 Type of Account\Location of Account\Last Four Digits of Account Number
 -NONE-

           10. NCGS 1C-1601(a)(10) FUNDS IN A COLLEGE SAVINGS PLAN, as qualified under § 529 of the Internal Revenue Code, and that are not
otherwise excluded from the estate pursuant to 11 U.S.C. §§ 541(b)(5)-(6), (e), not to exceed a cumulative limit of $25,000. If funds were placed in a
college savings plan within the 12 months prior to filing, the contributions must have been made in the ordinary course of the debtor's financial affairs
and must have been consistent with the debtor's past pattern of contributions. The exemption applies to funds for a child of the debtor that will actually be
used for the child's college or university expenses.

 College Savings Plan\Last Four Digits of Account Number\Value\Initials of Child Beneficiary
 -NONE-

        11. NCGS 1C-1601(a)(11) RETIREMENT BENEFITS UNDER THE RETIREMENT PLANS OF OTHER STATES AND GOVERNMENTAL
UNITS OF OTHER STATES (The debtor's interest is exempt only to the extent that these benefits are exempt under the laws of the state or
governmental unit under which the benefit plan is established).

 Name of Retirement Plan\State Governmental Unit\Last Four Digits of Identifying Number
 -NONE-

         12. NCGS 1C-1601(a)(12) ALIMONY, SUPPORT, SEPARATE MAINTENANCE, AND CHILD SUPPORT PAYMENTS OR FUNDS THAT
HAVE BEEN RECEIVED OR TO WHICH THE DEBTOR IS ENTITLED (The debtor's interest is exempt to the extent the payments or funds are
reasonably necessary for the support of the debtor or any dependent of the debtor).

 Type of Support\Amount\Location of Funds
 -NONE-

         13. TENANCY BY THE ENTIRETY. The following property is claimed as exempt pursuant to 11 U.S.C. § 522 and the law of the State of
North Carolina pertaining to property held as tenants by the entirety.

 Description of                                 Market Lien                                                        Amount                                Net
 Property and Address                            Value Holder                                                       of Lien                            Value
 -NONE-

                                                                                                   VALUE CLAIMED AS EXEMPT: $                           0.00

Schedule C-1 - Property Claimed as Exempt - 3/2016                                                                                                    Page 2
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            14. NORTH CAROLINA PENSION FUND EXEMPTIONS

           -NONE-

            15. OTHER EXEMPTIONS CLAIMED UNDER LAWS OF THE STATE OF NORTH CAROLINA

           -NONE-

            16. FEDERAL PENSION FUND EXEMPTIONS

           -NONE-

            17. OTHER EXEMPTIONS CLAIMED UNDER NONBANKRUPTCY FEDERAL LAW

           -NONE-

            18. RECENT PURCHASES

            (a). List tangible personal property purchased by the debtor within ninety (90) days of the filing of the bankruptcy petition.

                                                                       Market Lien                                                   Amount                   Net
 Description                                                            Value Holder                                                  of Lien               Value
 -NONE-

          (b). List any tangible personal property from 18(a) that is directly traceable to the liquidation or conversion of property that may be exempt and
that was not acquired by transferring or using additional property.

 Description of Replacement Property                                 Description of Property Liquidated or Converted that May Be Exempt



            19. The debtor's property is subject to the following claims:

 a.          Of the United States or its agencies as provided by federal law.
 b.          Of the State of North Carolina or its subdivisions for taxes, appearance bonds or fiduciary bonds;
 c.          Of a lien by a laborer for work done and performed for the person claiming the exemption, but only as to the specific property affected.
 d.          Of a lien by a mechanic for work done on the premises, but only as to the specific property affected.
 e.          For payment of obligations contracted for the purchase of specific real property affected.
 f.          For contractual security interests in specific property affected; provided, that the exemptions shall apply to the debtor's household goods
             notwithstanding any contract for a nonpossessory, nonpurchase money security interest in any such goods.
 g.          For statutory liens, on the specific property affected, other than judicial liens.
 h.          For child support, alimony or distributive award order pursuant to Chapter 50 of the General Statutes of North Carolina.
 i.          For criminal restitution orders docketed as civil judgments pursuant to G.S. 15A-1340.38.
 j.          Debts of a kind specified in 11 U.S.C. § 523(a)(1) (certain taxes), (5) (domestic support obligations).
 k.          Debts of a kind specified in 11 U.S.C. § 522(c).

                                         Nature of                          Amount of Description of                                   Value                 Net
 Claimant                                Claim                                 Claim Property                                     of Property              Value
 -NONE-

         None of the property listed in paragraph 18(a), except qualified replacement property under 18(b), has been included in this claim of
exemptions.


            None of the claims listed in paragraph 19 is subject to this claim of exemptions.


          I declare that to the extent any exemptions I have claimed appear on its face to exceed the amount allowed by the applicable statute, I claim
only the maximum amount allowed by statute.




Schedule C-1 - Property Claimed as Exempt - 3/2016                                                                                                         Page 3
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                                    UNSWORN DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF INDIVIDUAL
                                               TO SCHEDULE C-1 - PROPERTY CLAIMED AS EXEMPT

          I,    Angela Amidon          , declare under penalty of perjury that I have read the foregoing Schedule C-1 - Property Claimed as Exempt,
consisting of 4 sheets, and that they are true and correct to the best of my knowledge, information and belief.




 Executed on: December 26, 2017                                              /s/ Angela Amidon
                                                                             Angela Amidon
                                                                                                               Debtor




Schedule C-1 - Property Claimed as Exempt - 3/2016                                                                                                 Page 4
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       Case 17-06237-5-SWH                             Doc 1 Filed 12/26/17 Entered 12/26/17 10:29:41                                         Page 22 of 52
 Fill in this information to identify the case:

 Debtor name         Amidon, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       Fora Financial Business
 2.1                                                                                                                       $332,790.58                  Unknown
       Loans, LLC                                     Describe debtor's property that is subject to a lien
       Creditor's Name                                All assets including inventory, equipment,
                                                      investment property, financial instruments,
                                                      chattel paper, documents, letter of credit
                                                      rights, accounts, deposit accounts, tort
       242 West 36th Street, 14th                     claims and general intangibles. (Debtor
       Floor                                          believes lien is avoidable.)
       New York, NY 10018
       Creditor's mailing address                     Describe the lien
                                                      Business Loan
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       August 2017                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       N/A
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Ford Credit                                    Describe debtor's property that is subject to a lien                   $19,990.31                $17,593.27
       Creditor's Name                                2014 Ford F250
       P.O. Box 650575
       Dallas, TX 75265
       Creditor's mailing address                     Describe the lien
                                                      Auto Loan
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       April 2014                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 3
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 Debtor       Amidon, Inc.                                                                             Case number (if know)
              Name

        4635
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.3    Ford Credit                                   Describe debtor's property that is subject to a lien                      $17,538.60            $19,506.89
        Creditor's Name                               2016 Ford Explorer
        P.O. Box 650575
        Dallas, TX 75265
        Creditor's mailing address                    Describe the lien
                                                      Auto Loan
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        November 2015                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        7105
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.4    Preservation 2, Inc.                          Describe debtor's property that is subject to a lien                     $408,263.31             Unknown
        Creditor's Name                               Debtor's interest in 360 Ballistics, contracts,
        Rich Kristof                                  and Keyman life insurance policy
        1020 Timber Lane
        Wilmette, IL 60091
        Creditor's mailing address                    Describe the lien
                                                      Business Loan
                                                      Is the creditor an insider or related party?
        rkristof@iscoa.com                               No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        June 2015                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        N/A
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $778,582.80

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.



Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
       Case 17-06237-5-SWH                             Doc 1 Filed 12/26/17 Entered 12/26/17 10:29:41                             Page 24 of 52
 Debtor       Amidon, Inc.                                                               Case number (if know)
              Name

        Name and address                                                                        On which line in Part 1 did         Last 4 digits of
                                                                                                you enter the related creditor?     account number for
                                                                                                                                    this entity
        Fora Financial Business Loans, LLC
        242 West 36th Street, 14th Floor                                                        Line   2.4
        New York, NY 10018

        Preservation 2, Inc.
        Rich Kristof                                                                            Line   2.1                                  N/A
        1020 Timber Lane
        Wilmette, IL 60091




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 3 of 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
         Case 17-06237-5-SWH                           Doc 1 Filed 12/26/17 Entered 12/26/17 10:29:41                                              Page 25 of 52
 Fill in this information to identify the case:

 Debtor name         Amidon, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $52,186.87
           Ahtna Support & Training Svcs LLC                                    Contingent
           Attn: Managing Agent                                                 Unliquidated
           110 W 38th Ave, #2                                                   Disputed
           Anchorage, AK 99503
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $344.04
           AT&T Mobility (Wireless)                                             Contingent
           Attn: Managing Agent                                                 Unliquidated
           PO Box 6463                                                          Disputed
           Carol Stream, IL 60197-6463
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $34,696.83
           BB&T                                                                 Contingent
           Attn: Managing Agent                                                 Unliquidated
           P.O. Box 580340                                                      Disputed
           Charlotte, NC 28258
                                                                             Basis for the claim:    Debt owed.
           Date(s) debt was incurred 2012
           Last 4 digits of account number      0000                         Is the claim subject to offset?       No     Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $12,500.00
           BB&T Financial FSB                                                   Contingent
           Attn: Managing Agent                                                 Unliquidated
           P.O. Box 580340                                                      Disputed
           Charlotte, NC 28258-0340
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 7
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        Case 17-06237-5-SWH                            Doc 1 Filed 12/26/17 Entered 12/26/17 10:29:41                                              Page 26 of 52
 Debtor       Amidon, Inc.                                                                            Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,250.00
          Breaching Technologies, Inc                                           Contingent
          Attn: Managing Agent                                                  Unliquidated
          PO Box 780156                                                         Disputed
          San Antonio, TX 78278
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,834.08
          Carolina Facilities Group, LLC                                        Contingent
          Attn: Managing Agent                                                  Unliquidated
          5036 Kinderston Drive                                                 Disputed
          Holly Springs, NC 27540
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Construction Admin Financial                                          Contingent
          John M. Fuller, Jr., President                                        Unliquidated
          1812 Crestlyn Road                                                    Disputed
          York, PA 17403
                                                                             Basis for the claim:    For Notice Purposes
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,501.02
          Construction Financial Admin Svc                                      Contingent
          Attn: Managing Agent                                                  Unliquidated
          4956 Long Beach Rd                                                    Disputed
          Southport, NC 28461-9127
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,275.00
          Deltek                                                                Contingent
          Attn: Managing Agent                                                  Unliquidated
          2291 Wood Oak Drive                                                   Disputed
          Herndon, VA 20170
                                                                             Basis for the claim:    Subscription to access government contracting
          Date(s) debt was incurred September 2017
                                                                             opportunities.
          Last 4 digits of account number 9334
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,828.54
          Evolve Furniture Group                                                Contingent
          Attn: Managing Agent                                                  Unliquidated
          PO Box 562                                                            Disputed
          Marlton, NJ 08053
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $93.13
          FedEx Office                                                          Contingent
          Attn: Managing Agent                                                  Unliquidated
          PO Box 371461                                                         Disputed
          Pittsburgh, PA 15250-7461
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 7
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 Debtor       Amidon, Inc.                                                                            Case number (if known)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,700.00
          Flooring Solutions, Inc                                               Contingent
          Attn: Managing Agent                                                  Unliquidated
          6426-B Windmill Way                                                   Disputed
          Wilmington, NC 28405
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,621.05
          Grace Construction Products                                           Contingent
          Attn: Managing Agent                                                  Unliquidated
          PO Box 96160                                                          Disputed
          Chicago, IL 60693
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,289.08
          Greystone Concrete Products, Inc                                      Contingent
          Attn: Managing Agent                                                  Unliquidated
          PO Box 680                                                            Disputed
          Henderson, NC 27536
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,139.74
          Hamilton Machine Works                                                Contingent
          Attn: Managing Agent                                                  Unliquidated
          908 Withers Road                                                      Disputed
          Raleigh, NC 27603
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,009,162.22
          Harrison Walker & Harper LP
          Attn: Managing Agent                                                  Contingent
          2510 South Church Street                                              Unliquidated
          Paris, TX 75460                                                       Disputed
          Date(s) debt was
                                                                             Basis for the claim:    Subcontracted services.
          incurred September          2014- November 2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $22.00
          Hartford Badges                                                       Contingent
          Attn: Managing Agent                                                  Unliquidated
          7617 Center Road                                                      Disputed
          West Falls, NY 14170
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,425.00
          Integrity Installations Inc                                           Contingent
          Attn: Managing Agent                                                  Unliquidated
          5405 Valley Belt Rd # F                                               Disputed
          Independence, OH 44131
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 7
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 Debtor       Amidon, Inc.                                                                            Case number (if known)
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,395.63
          Internal Revenue Service                                              Contingent
          Attn: Managing Agent                                                  Unliquidated
          PO Box 7346                                                           Disputed
          Philadelphia, PA 19101-7346
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $59,517.79
          Keith Clarin                                                          Contingent
          Attn: Managing Agent                                                  Unliquidated
          8113 Satillo Lane                                                     Disputed
          Raleigh, NC 27616
                                                                             Basis for the claim:
          Date(s) debt was incurred May 2016
          Last 4 digits of account number N/A                                Is the claim subject to offset?     No       Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,879.81
          KS Bank                                                               Contingent
          Attn: Managing Agent                                                  Unliquidated
          P.O Box 409                                                           Disputed
          Middlesex, NC 27557
                                                                             Basis for the claim:    Debt owed.
          Date(s) debt was incurred 2017
          Last 4 digits of account number       5135                         Is the claim subject to offset?     No       Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,100.00
          Landstar Ranger, Inc                                                  Contingent
          Attn: Managing Agent                                                  Unliquidated
          PO Box 8500-54293                                                     Disputed
          Philadelphia, PA 19178-4293
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,702.00
          Mahorsky Group, Inc                                                   Contingent
          Attn: Managing Agent                                                  Unliquidated
          2100 Quaker Pointe Dr                                                 Disputed
          Quakertown, PA 18951
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,550.00
          Mann's Creative Design LLC                                            Contingent
          Attn: Managing Agent                                                  Unliquidated
          7604 Clark Hill Rd                                                    Disputed
          Wilmington, NC 28412
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $573.51
          Mobile Modular                                                        Contingent
          Attn: Managing Agent                                                  Unliquidated
          PO Box 45043                                                          Disputed
          San Francisco, CA 94145-5043
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 7
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        Case 17-06237-5-SWH                            Doc 1 Filed 12/26/17 Entered 12/26/17 10:29:41                                              Page 29 of 52
 Debtor       Amidon, Inc.                                                                            Case number (if known)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          NC Dept. of Revenue                                                   Contingent
          Attn: Bankruptcy Unit/ManagingAgent                                   Unliquidated
          PO Box 1168                                                           Disputed
          Raleigh, NC 27602-1168
                                                                             Basis for the claim:    Notice purposes only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,932.13
          One Source Furniture Dist Inc                                         Contingent
          Attn: Managing Agent                                                  Unliquidated
          2654 Abington Rd                                                      Disputed
          Akron, OH 44333
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $300,000.00
          Richard Koch                                                          Contingent
          Attn: Managing Agent                                                  Unliquidated
          279 Cross Road                                                        Disputed
          Alamo, CA 94507
                                                                                            Interest in the accounts receivable from Amidon,
                                                                             Basis for the claim:
          Date(s) debt was incurred May 2017
                                                                             Inc.'s Camp Pendleton Project
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $587.71
          Shaw Construction Co Inc                                              Contingent
          Attn: Managing Agent                                                  Unliquidated
          1248 Bill Shaw Rd                                                     Disputed
          Spring Lake, NC 28390
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,150.00
          Sherman & Boddie, Inc                                                 Contingent
          Attn: Managing Agent                                                  Unliquidated
          730 Lewis Street                                                      Disputed
          Oxford, NC 27565
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,997.06
          Solutions ITS, Inc                                                    Contingent
          Attn: Managing Agent                                                  Unliquidated
          5107 Unicorn Dr                                                       Disputed
          Wake Forest, NC 27587
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,442.55
          Sunbelt Rentals                                                       Contingent
          Attn: Managing Agent                                                  Unliquidated
          PO Box 409211                                                         Disputed
          Atlanta, GA 30384-9211
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 5 of 7
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        Case 17-06237-5-SWH                            Doc 1 Filed 12/26/17 Entered 12/26/17 10:29:41                                              Page 30 of 52
 Debtor       Amidon, Inc.                                                                            Case number (if known)
              Name

 3.33      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $2,040.00
           Terracon Constultants, Inc                                           Contingent
           Attn: Managing Agent                                                 Unliquidated
           2401 Brentwood Rd #107                                               Disputed
           Raleigh, NC 27604
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.34      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,286.01
           Texas Mutual Insurance                                               Contingent
           Attn: Managing Agent                                                 Unliquidated
           6210 East Highway 290                                                Disputed
           Austin, TX 78723-1098
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.35      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,916.65
           The Hartford                                                         Contingent
           Attn: Managing Agent                                                 Unliquidated
           690 Asylum Avenue                                                    Disputed
           Hartford, CT 06155
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.36      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $2,994.48
           Triangle Pre-Cast Corp                                               Contingent
           Attn: Managing Agent                                                 Unliquidated
           5517 Sedge Wren Drive                                                Disputed
           Wake Forest, NC 27587
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.37      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           United States Attorney                                               Contingent
           Attn: Managing Agent                                                 Unliquidated
           310 New Bern Ave, Ste 800 Fed Bldg                                   Disputed
           Raleigh, NC 27601
                                                                             Basis for the claim:    Notice purposes only.
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.38      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $627.04
           Waste Industries                                                     Contingent
           Attn: Managing Agent                                                 Unliquidated
           3301 Benson Dr #601                                                  Disputed
           Raleigh, NC 27609
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.39      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,920.00
           Wyrick, Robbins, Yates & Ponton, LL                                  Contingent
           4101 Lake Boone Trail                                                Unliquidated
           Suite 300                                                            Disputed
           Raleigh, NC 27619
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 6 of 7
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       Case 17-06237-5-SWH                             Doc 1 Filed 12/26/17 Entered 12/26/17 10:29:41                                        Page 31 of 52
 Debtor       Amidon, Inc.                                                                         Case number (if known)
              Name

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                               On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.       $                           0.00
 5b. Total claims from Part 2                                                                        5b.   +   $                   1,658,480.97

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.       $                      1,658,480.97




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 7 of 7
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        Case 17-06237-5-SWH                            Doc 1 Filed 12/26/17 Entered 12/26/17 10:29:41                             Page 32 of 52
 Fill in this information to identify the case:

 Debtor name         Amidon, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.        State what the contract or                   Lease of office space.
             lease is for and the nature of               Debtor vacated space
             the debtor's interest                        on 10-31-17.

                  State the term remaining                Lease Expires 10-31-18        Capital Marketing Group, Inc.
                                                                                        3319 Heritage Trade Drive
             List the contract number of any                                            Suite 101
                   government contract                                                  Wake Forest, NC 27587


 2.2.        State what the contract or                   Subscription to access
             lease is for and the nature of               government
             the debtor's interest                        contracting
                                                          opportunities.
                  State the term remaining                December 2018
                                                                                        Deltek
             List the contract number of any                                            2291 Wood Oak Drive
                   government contract                                                  Herndon, VA 20170


 2.3.        State what the contract or                   Lease of warehouse
             lease is for and the nature of               space for storage of
             the debtor's interest                        proprietary steel forms
                                                          used to manufacture
                                                          patented ballistic
                                                          concrete.
                  State the term remaining                N/A
                                                                                        Keaton Rankin
             List the contract number of any                                            4164 Indian Trail Rd.
                   government contract                                                  Oxford, NC 27565


 2.4.        State what the contract or                   Andersonville POW
             lease is for and the nature of               Museum HVAC. Debtor
             the debtor's interest                        is prime contractor.

                  State the term remaining                In progress                   National Park Service
                                                                                        NPS, Ser-East MABO
             List the contract number of any                                            100 Alabama St. SW, 1924 Building
                   government contract       PO No. P16PC00751                          Atlanta, GA 30303-8701



Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 3
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 Debtor 1 Amidon, Inc.                                                                         Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   Clingman's Dome
             lease is for and the nature of               Restoration. Debtor is
             the debtor's interest                        prime contractor.

                  State the term remaining                In progress                  National Park Service
                                                                                       NPS Ser North MABO
             List the contract number of any                                           107 Park Headquarters Rd.
                   government contract       PO No. P17PC00411                         Gatlinburg, TN 37738


 2.6.        State what the contract or                   Roofing and flooring.
             lease is for and the nature of               Debtor is prime
             the debtor's interest                        contractor.

                  State the term remaining                In progress.                 National Park Service (NPS)
                                                                                       NPS Ser East MABO
             List the contract number of any                                           100 Alabama St. SW, 1924 Building
                   government contract       P17PC00521                                Atlanta, GA 30303-8701


 2.7.        State what the contract or                   NOSC
             lease is for and the nature of               Improvements-Greensb
             the debtor's interest                        oro. Debtor is prime
                                                          contractor.
                  State the term remaining                In progress                  Navy Facilities Command/PWD Oceana
                                                                                       Facilities Engineering & ACQ Div
             List the contract number of any                                           963 Hornet Dr., Suite 213
                   government contract       N40085-16-C-4422                          Virginia Beach, VA 23460


 2.8.        State what the contract or                   NOSC
             lease is for and the nature of               Improvements--Charlott
             the debtor's interest                        e. Debtor is prime
                                                          contractor.
                  State the term remaining                In progress.                 Navy Facilities Command/PWD Oceana
                                                                                       Facilities Engineering & ACQ Div
             List the contract number of any                                           963 Hornet Drive, Suite 213
                   government contract       N40085-16-C-4421                          Virginia Beach, VA 23460


 2.9.        State what the contract or                   NOSC
             lease is for and the nature of               Improvements-Raleigh.
             the debtor's interest                        Debtor is prime
                                                          contractor.
                  State the term remaining                In progress                  Navy Facilities Command/PWD Oceana
                                                                                       Facilities Engineering & ACQ Div
             List the contract number of any                                           963 Hornet Drive, Suite 213
                   government contract       N40085-16-C-4423                          Virginia Beach, VA 23460


 2.10.       State what the contract or                   Buildings 41 and 61
             lease is for and the nature of               roofing. Debtor is
             the debtor's interest                        prime contractor.

                  State the term remaining                In progress.                 U.S. Army Corps of Engineers
                                                                                       819 Taylor St., Rm. 2A17
             List the contract number of any PO No.                                    Fort Worth, TX 76102-0300
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 3
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 Debtor 1 Amidon, Inc.                                                                        Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract                   W9126G-16-C-0022


 2.11.       State what the contract or                   Renovation of
             lease is for and the nature of               buildings 2001 and
             the debtor's interest                        2186. Debtor is prime
                                                          contractor.
                  State the term remaining                In progress.
                                                                                      U.S. Army Corps of Engineers
             List the contract number of any                                          819 Taylor St., Room 2A17
                   government contract       W9126G-16-C-0103                         Fort Worth, TX 76102-0300




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Amidon, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Angela Amidon                     7617 Kensington Manor Lane                        Preservation 2, Inc.               D   2.4
                                               Wake Forest, NC 27587                                                                E/F
                                                                                                                                    G




    2.2      Angela Amidon                     7617 Kensington Manor Lane                        Fora Financial                     D   2.1
                                               Wake Forest, NC 27587                             Business Loans, LLC                E/F
                                                                                                                                    G




    2.3      Clayton Amidon                    3160 Pearces Road                                 Preservation 2, Inc.               D   2.4
                                               Zebulon, NC 27597                                                                    E/F
                                                                                                                                    G




Official Form 206H                                                      Schedule H: Your Codebtors                                            Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Amidon, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                           $11,466,150.23
       From 1/01/2017 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                           $14,627,597.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $9,724,168.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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 Debtor       Amidon, Inc.                                                                              Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Preservation 2, Inc.                                        August 4,                        $18,000.00                Secured debt
               Rich Kristof                                                2017                                                       Unsecured loan repayments
               1020 Timber Lane                                            September 1,
                                                                                                                                      Suppliers or vendors
               Wilmette, IL 60091                                          2017
                                                                                                                                      Services
                                                                           September
                                                                           29, 2017                                                   Other


       3.2.
               Fora Financial Business Loans, LLC                          Every day in                     $69,069.88                Secured debt
               242 West 36th Street, 14th Floor                            August and                                                 Unsecured loan repayments
               New York, NY 10018                                          September,
                                                                                                                                      Suppliers or vendors
                                                                           2017.
                                                                                                                                      Services
                                                                           Daily
                                                                           payments for                                               Other
                                                                           part of
                                                                           October,
                                                                           2017.
       3.3.
               Authentic Intelligence                                      August 4,                          $2,100.00               Secured debt
               Attn: Richard Kristof                                       2017                                                       Unsecured loan repayments
               5005 Sunset Forest Circle                                   September 1,
                                                                                                                                      Suppliers or vendors
               Holly Springs, NC 27540                                     2017
                                                                                                                                      Services
                                                                           September
                                                                           29, 2017                                                 Other Payments to Authentic
                                                                                                                                 Intelligence were part of the
                                                                                                                                 payment of the secured debt to
                                                                                                                                 Preservation 2.


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits


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 Debtor        Amidon, Inc.                                                                                Case number (if known)



    List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
    in any capacity—within 1 year before filing this case.

           None.

                Case title                                      Nature of case               Court or agency's name and                Status of case
                Case number                                                                  address
       7.1.     Fora Financial Business                         Complaint for                Gen. Ct. of Justice,                         Pending
                Loans, LLC v. Amidon, Inc.                      money owed.                  Superior Ct. Div.                            On appeal
                and Angela Noble Amidon                                                      316 Fayetteville St.
                                                                                                                                          Concluded
                17 CVS 14583                                                                 Raleigh, NC 27601


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                    Description of the gifts or contributions                  Dates given                              Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss              Value of property
       how the loss occurred                                                                                                                                       lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates                    Total amount or
                 the transfer?                                                                                                                                   value
                 Address
       11.1.     Janvier Law Firm, PLLC
                 311 East Edenton Street
                 Raleigh, NC 27601                                   Attorney Fees                                                                          $15,000.00

                 Email or website address


                 Who made the payment, if not debtor?




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 Debtor        Amidon, Inc.                                                                              Case number (if known)




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                          Description of property transferred or                   Date transfer            Total amount or
                Address                                         payments received or debts paid in exchange              was made                          value
       13.1 TBA                                                 Sale of trailer
       .                                                        Total Value: TBA                                         December 2017                  Unknown

                Relationship to debtor




 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     3319 Heritage Trade Drive, Suite 201
                 Wake Forest, NC 27587

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                      Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.




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 Debtor        Amidon, Inc.                                                                             Case number (if known)



17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    ASP Retirement Services                                                                    EIN: 223072

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or          Date account was            Last balance
              Address                                           account number            instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred
       18.1.     BB&T                                           XXXX-6384                    Checking                 October 16, 2017              $70,695.29
                 P.O. box 580340                                                             Savings
                 Charlotte, NC 28258
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Warehouse                                                     Mark Siver                           Proprietary steel forms for             No
       209 W. Industry Drive                                         5517 Sedge Wren Drive                patented ballistic concrete.            Yes
       Oxford, NC 27565                                              Wake Forest, NC 27587



 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own



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 Debtor      Amidon, Inc.                                                                               Case number (if known)




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    360 Ballistics, LLC                              Intellectual property holding                    EIN:         XX-XXXXXXX
             3319 Heritage Trade Drive,                       company for Amidon Inc. Amidon,
             Suite 201                                        Inc. owns 51%.                                   From-To      May 2009-present
             Wake Forest, NC 27587


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
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 Debtor      Amidon, Inc.                                                                               Case number (if known)



              None

       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26a.1.       Rankin McKenzie                                                                                                     July 2015-present
                    1000 Centre Green Way, Suite 200
                    Cary, NC 27513
       26a.2.       Anstiss & Co., P.C.                                                                                                 December
                    1115 Westford Street                                                                                                2012-present
                    Lowell, MA 01851

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.1.       Anstiss & Co., P.C.                                                                                                 December
                    1115 Westford Street                                                                                                2011-present
                    Lowell, MA 01851

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Rankin McKenzie
                    1000 Centre Green Way, Suite 200
                    Cary, NC 27513
       26c.2.       Anstiss & Co., P.C.
                    1115 Westford St.
                    Lowell, MA 01851

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       BB&T
                    P.O. Box 580340
                    Charlotte, NC 28258
       26d.2.       KS Bank
                    P.O. Box 409
                    Middlesex, NC 27557
       26d.3.       Preservation 2, Inc.
                    Rich Kristof
                    1020 Timber Lane
                    Wilmette, IL 60091
       26d.4.       Fora Financial Business Loans, LLC
                    242 West 36th Street, 14th Floor
                    New York, NY 10018
       26d.5.       Keith Clarin
                    8113 Satillo Lane
                    Raleigh, NC 27616

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       Name and address
       26d.6.       Small Business Administration
                    Attn: Managing Agent
                    North Carolina District
                    6302 Fairview Road #300
                    Charlotte, NC 28210-2227
       26d.7.       Shareholders of Amidon, Inc.



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Angela Amidon                                  7617 Kensington Manor Lane                          President/Treasurer/Sole              51%
                                                      Wake Forest, NC 27587                               Director

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Clayton Amidon                                 3160 Pearces Road                                   Vice President/Secretary              7%
                                                      Zebulon, NC 27597



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                   Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value
       30.1 Angela Amidon
       .    7617 Kensington Manor Lane                                                                                                      Employee
                Wake Forest, NC 27587                           $201,012.77                                              2017               compensation.

                Relationship to debtor
                President/Treasurer/Sole
                Director




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
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 Debtor      Amidon, Inc.                                                                               Case number (if known)



               Name and address of recipient                    Amount of money or description and value of              Dates            Reason for
                                                                property                                                                  providing the value
       30.2 Clayton Amidon
       .    3160 Pearces Road                                                                                                             Employee
               Zebulon, NC 27597                                $226,351.79                                              2017             compensation.

               Relationship to debtor
               Vice President/Secretary


       30.3 Keith Clarin
       .    8113 Satillo Lane                                                                                                             Employee
               Raleigh, NC 27616                                $66,837.56                                               2017             compensation.

               Relationship to debtor
               Friend, former employee, 2%
               owner


       30.4 Jimmy and Patti Cone
       .    5909 White Heron Road                                                                                        Jan-March        Per shareholder
               Wilmington, NC 28412                             $4,999.98                                                2017             agreement.

               Relationship to debtor
               Shareholder


       30.5 Michelle Cone
       .    2647 Joel Lane                                                                                               January-Marc     Per shareholder
               Wilson, NC 27896                                 $2000.01                                                 h 2017           agreement.

               Relationship to debtor
               Shareholder


       30.6 Michael Sabbia                                                                                               January
       .    14100 S. 88th Avenue                                                                                         -February        Per shareholder
               Orland Park, IL 60462                            $6,000.00                                                2017             agreement.

               Relationship to debtor
               Shaeholder


       30.7 David Allsbrook
       .    8516 Southbriar Drive                                                                                                         Per shareholder
               Raleigh, NC 27606                                $3,750.00                                                June 2017        agreement.

               Relationship to debtor
               Shareholder


       30.8 Charles Doughtery
       .    3114 Bevington Hill Court                                                                                    December         Per shareholder
               Cary, NC 27513                                   $3,750.00                                                2017             agreement.

               Relationship to debtor
               Shareholder


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.




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    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         December 26, 2017

 /s/ Angela Amidon                                                      Angela Amidon
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President and CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re       Amidon, Inc.                                                                                     Case No.
                                                                                    Debtor(s)                 Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 15,000.00
             Prior to the filing of this statement I have received                                        $                 15,000.00
             Balance Due                                                                                  $                       0.00

2.     $    0.00      of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                   Debtor                 Other (specify):

4.     The source of compensation to be paid to me is:

                   Debtor                 Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     December 26, 2017                                                              /s/ William P. Janvier
     Date                                                                           William P. Janvier 21136
                                                                                    Signature of Attorney
                                                                                    Janvier Law Firm, PLLC
                                                                                    311 East Edenton Street
                                                                                    Raleigh, NC 27601
                                                                                    919-582-2323 Fax: 866-809-2379
                                                                                    Name of law firm




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 In re      Amidon, Inc.                                                                                     Case No.
                                                                                    Debtor(s)                Chapter       11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                               Security Class Number of Securities              Kind of Interest
 business of holder
 Angela N. Amidon                                                                     4335
 7617 Kensington Manor Lane
 Wake Forest, NC 27587

 Charles P. Dougherty                                                                 85
 3114 Bevington Hill Court
 Cary, NC 27513

 CJCE, LLC (Chadwick Eddins)                                                          170
 Attn: Heather Eddins
 8501 Eddins Farm Road
 Zebulon, NC 27597

 Clayton D. Amidon                                                                    595
 3160 Pearces Road
 Zebulon, NC 27597

 Clayton W. Davidson III                                                              595
 13216 Carriage Hills Court
 Raleigh, NC 27614

 Cynthia Michelle Cone                                                                113
 2647 Joel Lane
 Wilson, NC 27896

 David A. Allsbrook, Jr.                                                              170
 8516 Southbriar Drive
 Raleigh, NC 27606

 David E. Mitchell                                                                    595
 1141 Wakefield Farm Road
 Zebulon, NC 27597

 Jimmy G. Cone, Sr.                                                                   114
 5909 White Heron Road
 Wilmington, NC 28412

 Keith Clarin                                                                         170
 2420 Clerestory Place
 Raleigh, NC 27615

 Linda Taylor                                                                         595
 1613 Sunrise Avenue
 Raleigh, NC 27608




Sheet 1 of 2 in List of Equity Security Holders
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 In re:    Amidon, Inc.                                                                                  Case No.
                                                                                     Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder

 Michael A. Sabbia                                                                    595
 14100 S. 88th Avenue
 Orland Park, IL 60462

 Patti Cline Cone                                                                     113
 5909 White Heron Road
 Wilmington, NC 28412

 Sammy McCaskill                                                                      255
 508 Fishing Rock Road
 Castalia, NC 27816


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President and CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date December 26, 2017                                                      Signature /s/ Angela Amidon
                                                                                            Angela Amidon

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




List of equity security holders consists of 2 total page(s)
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                                               VERIFICATION OF CREDITOR MATRIX


I, the President and CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       December 26, 2017                                            /s/ Angela Amidon
                                                                          Angela Amidon/President and CEO
                                                                          Signer/Title




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Ahtna Support & Training Svcs LLC     Construction Admin Financial         Greystone Concrete Products, Inc
Attn: Managing Agent                  John M. Fuller, Jr., President       Attn: Managing Agent
110 W 38th Ave, #2                    1812 Crestlyn Road                   PO Box 680
Anchorage, AK 99503                   York, PA 17403                       Henderson, NC 27536


Angela Amidon                         Construction Financial Admin Svc     Hamilton Machine Works
7617 Kensington Manor Lane            Attn: Managing Agent                 Attn: Managing Agent
Wake Forest, NC 27587                 4956 Long Beach Rd                   908 Withers Road
                                      Southport, NC 28461-9127             Raleigh, NC 27603


AT&T Mobility (Wireless)              Deltek                               Harrison Walker & Harper LP
Attn: Managing Agent                  Attn: Managing Agent                 Attn: Managing Agent
PO Box 6463                           2291 Wood Oak Drive                  2510 South Church Street
Carol Stream, IL 60197-6463           Herndon, VA 20170                    Paris, TX 75460


BB&T                                  Evolve Furniture Group               Hartford Badges
Attn: Managing Agent                  Attn: Managing Agent                 Attn: Managing Agent
P.O. Box 580340                       PO Box 562                           7617 Center Road
Charlotte, NC 28258                   Marlton, NJ 08053                    West Falls, NY 14170


BB&T Financial FSB                    FedEx Office                         Integrity Installations Inc
Attn: Managing Agent                  Attn: Managing Agent                 Attn: Managing Agent
P.O. Box 580340                       PO Box 371461                        5405 Valley Belt Rd # F
Charlotte, NC 28258-0340              Pittsburgh, PA 15250-7461            Independence, OH 44131


Breaching Technologies, Inc           Flooring Solutions, Inc              Internal Revenue Service
Attn: Managing Agent                  Attn: Managing Agent                 Attn: Managing Agent
PO Box 780156                         6426-B Windmill Way                  PO Box 7346
San Antonio, TX 78278                 Wilmington, NC 28405                 Philadelphia, PA 19101-7346


Capital Marketing Group, Inc.         Fora Financial Business Loans, LLC   Keaton Rankin
3319 Heritage Trade Drive             242 West 36th Street, 14th Floor     4164 Indian Trail Rd.
Suite 101                             New York, NY 10018                   Oxford, NC 27565
Wake Forest, NC 27587


Carolina Facilities Group, LLC        Ford Credit                          Keith Clarin
Attn: Managing Agent                  P.O. Box 650575                      Attn: Managing Agent
5036 Kinderston Drive                 Dallas, TX 75265                     8113 Satillo Lane
Holly Springs, NC 27540                                                    Raleigh, NC 27616


Clayton Amidon                        Grace Construction Products          KS Bank
3160 Pearces Road                     Attn: Managing Agent                 Attn: Managing Agent
Zebulon, NC 27597                     PO Box 96160                         P.O Box 409
                                      Chicago, IL 60693                    Middlesex, NC 27557
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Landstar Ranger, Inc                  One Source Furniture Dist Inc      The Hartford
Attn: Managing Agent                  Attn: Managing Agent               Attn: Managing Agent
PO Box 8500-54293                     2654 Abington Rd                   690 Asylum Avenue
Philadelphia, PA 19178-4293           Akron, OH 44333                    Hartford, CT 06155


Mahorsky Group, Inc                   Preservation 2, Inc.               Triangle Pre-Cast Corp
Attn: Managing Agent                  Rich Kristof                       Attn: Managing Agent
2100 Quaker Pointe Dr                 1020 Timber Lane                   5517 Sedge Wren Drive
Quakertown, PA 18951                  Wilmette, IL 60091                 Wake Forest, NC 27587


Mann's Creative Design LLC            Richard Koch                       U.S. Army Corps of Engineers
Attn: Managing Agent                  Attn: Managing Agent               819 Taylor St., Rm. 2A17
7604 Clark Hill Rd                    279 Cross Road                     Fort Worth, TX 76102-0300
Wilmington, NC 28412                  Alamo, CA 94507


Mobile Modular                        Shaw Construction Co Inc           United States Attorney
Attn: Managing Agent                  Attn: Managing Agent               Attn: Managing Agent
PO Box 45043                          1248 Bill Shaw Rd                  310 New Bern Ave, Ste 800 Fed B
San Francisco, CA 94145-5043          Spring Lake, NC 28390              Raleigh, NC 27601


National Park Service                 Sherman & Boddie, Inc              Waste Industries
NPS, Ser-East MABO                    Attn: Managing Agent               Attn: Managing Agent
100 Alabama St. SW, 1924 Building     730 Lewis Street                   3301 Benson Dr #601
Atlanta, GA 30303-8701                Oxford, NC 27565                   Raleigh, NC 27609


National Park Service                 Solutions ITS, Inc                 Wyrick, Robbins, Yates & Ponton,LL
NPS Ser North MABO                    Attn: Managing Agent               4101 Lake Boone Trail
107 Park Headquarters Rd.             5107 Unicorn Dr                    Suite 300
Gatlinburg, TN 37738                  Wake Forest, NC 27587              Raleigh, NC 27619


National Park Service (NPS)           Sunbelt Rentals
NPS Ser East MABO                     Attn: Managing Agent
100 Alabama St. SW, 1924 Building     PO Box 409211
Atlanta, GA 30303-8701                Atlanta, GA 30384-9211


Navy Facilities Command/PWD Oceana    Terracon Constultants, Inc
Facilities Engineering & ACQ Div      Attn: Managing Agent
963 Hornet Dr., Suite 213             2401 Brentwood Rd #107
Virginia Beach, VA 23460              Raleigh, NC 27604


NC Dept. of Revenue                   Texas Mutual Insurance
Attn: Bankruptcy Unit/ManagingAgent   Attn: Managing Agent
PO Box 1168                           6210 East Highway 290
Raleigh, NC 27602-1168                Austin, TX 78723-1098
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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Amidon, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 December 26, 2017                                                      /s/ William P. Janvier
 Date                                                                   William P. Janvier 21136
                                                                        Signature of Attorney or Litigant
                                                                        Counsel for Amidon, Inc.
                                                                        Janvier Law Firm, PLLC
                                                                        311 East Edenton Street
                                                                        Raleigh, NC 27601
                                                                        919-582-2323 Fax:866-809-2379




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